     AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

      Civil Action No. 23-CV-079-J

                                                          PROOF OF SERVICE
                          (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

                This summons for (name of individual and title, if any)    BITMAIN TECHNOLOGIES GEORGIA LIMITED
      was received by me on (date)                    10/24/2023           . Regiestered Agent: COGENCY GLOBAL INC.

                u I personally served the summons on the individual at (place)
                                                                                     on (date)                             ; or

                u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                      , a person of suitable age and discretion who resides there,
                on (date)                               , and mailed a copy to the individual’s last known address; or

                X I served the summons on (name of individual)
                u                                                                  SCOTT PERKINS                                    , who is
                 designated by law to accept service of process on behalf of (name of organization)

               BITMAIN TECHNOLOGIES GEORGIA LIMITED on (date) October 25,2023                                              ; or
               Registered Agent: COGENCY GLOBAL INC.
                u I returned the summons unexecuted because                                                                              ; or

                u Other (specify):

            Description: Sex: Male - Skin: Caucasian - Hair: Hat - Age:60's - Height: Sitting - Weight: 161-200 Ibs

                My fees are $           0.00            for travel and $    0.00          for services, for a total of $          0.00          .


                I declare under penalty of perjury that this information is true.


      Date: October 25, 2023
                                                                                                 Server’s signature


                                                                                   Haile Kahssu - Process Server
                                                                                             Printed name and title




                                                                       4848 Memorial Dr. Suite D Stone Mountain, GA 30083
                                                                                                 Server’s address

      Additional information regarding attempted service, etc:
SUMMONS; PLAINTIFFS FIRST AMENDED COMPLAINT FOR BREACH OF CONTRACT, ANTICIPATORY REPUDIATION OF CONTRACT,
INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS, ALTER EGO LIABILITY, ENTERPRISE LIABILITY, AND LOST PROFITS
AND MONEY DAMAGES; EXHIBITS A,B,C
